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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re: SKAPARS, YVONNE V.                                            Chapter 13
       SSN: xxx-xx-5580                                              Case No. 15-11221-JNF

                                Debtor(s)

             TRUSTEE’S OBJECTION TO CONFIRMATION OF AMENDED PLAN

        Now comes Carolyn A. Bankowski, Standing Chapter 13 Trustee (“Trustee”), and
respectfully objects to confirmation of the Debtor’s Amended Chapter 13 Plan, (the “Plan”), and
for reasons says as follows:

1.       On March 31, 2015, the above-captioned Debtor (the "Debtor") filed a petition for relief
         under Chapter 13 of the United States Bankruptcy Code.
2.       On April 28, 2015, the Trustee convened and presided at a meeting of creditors as
         required by 11 U.S.C. §341 wherein the Debtor appeared with Counsel was sworn and
         examined.
3.       In response to the Trustee’s Motion to Dismiss filed on March 08, 2016, the Debtor filed
         the Amended Plan (the ‘Plan’) with an ‘Effective Date’ for the Plan to begin of May 01,
         2016 on April 26, 2016. The Plan proposes an increased payment of $628.00 per month
         to the Trustee for a term of 60 months with an increased dividend to unsecured creditors
         of 40.9704% paying the amount of $20,865.47 through the plan. The Trustee cannot
         recommend the Plan for confirmation at this time.
4.       According to the Liquidation Analysis, there is $21,767.68 available for creditors in a
         Chapter 7. The Trustee asserts that there does not appear to be any priority or
         administrative claims being treated through the Plan. Therefore, the Trustee avers that
         there are additional $902.21 that could be devoted to paying unsecured creditors.
         Therefore, the Debtors’ proposed plan cannot be confirmed, as the Plan does not meet the
         best interest test set forth under 11 U.S.C. §1325(a)(4). The Trustee avers that creditors
         would receive a greater dividend in a liquidation under Chapter 7 of the Bankruptcy
         Code. Based on the aforementioned, the Trustee is unable to recommend the plan for
         confirmation at this time.
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        WHEREFORE, the Trustee requests that the Court sustain the objection to confirmation
and for such other relief as is proper.

Dated: May 16, 2016                           Respectfully Submitted,

                                              By: /s/ Carolyn Bankowski

                                              Carolyn Bankowski, BBO #631056
                                              Patricia A. Remer, BBO #639594
                                              Office of the Chapter 13 Trustee
                                              P.O. Box 8250
                                              Boston, MA 02114
                                              (617) 723-1313
                                              13trustee@ch13boston.com



                         UNITED STATES BANKRUPTCY COURT
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In re: SKAPARS, YVONNE V.                                            Chapter 13
       SSN: xxx-xx-5580                                              Case No. 15-11221-JNF

                               Debtor(s)


                                      Certificate of Service

       The undersigned hereby certifies that a copy of the Trustee’s Objection to Debtors
Chapter 13 Plan was served via electronic filing, first class mail, postage prepaid on the debtor
and debtor’s counsel at the addresses set forth below.

Dated: May 16, 2016

                                              By: /s/ Carolyn A. Bankowski
                                                 Carolyn A. Bankowski


                                           SERVICE LIST

Yvonne V. Skapars                                      Peter M. Daigle, Esq.
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